Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 1 of 13




                   Exhibit 07
  Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 2 of 13




                              UNITED STATES DISTRICT
                             COURT EASTERN DISTRICT OF
                             LOUISIANA


***************************************************
                                                            *
        IN RE: OIL SPILL by the OIL RIG                     *         MDLNo.2179
        "DEEPWATER HORIZON" in the                          *         SECTION J
        GULF OF MEXICO, on                                  *         JUDGE BARBIER
        APRIL 20, 2010                                      *         MAG. JUDGE SHUSHAN
                                                            *
**************************************************************

                  SUPPLEMENTAL DECLARATION OF DAVID A. HALL

                                        INTRODUCTION

       1.       I am a Managing Director with Alvarez & Marsal. My practice specializes in
matters involving the determination and measurement of economic damages in a variety of
industries including the construction industry. My qualifications and experience are summarized
in my prior declaration dated January 23, 2013 (“First Hall Decl.”) and are incorporated herein
by reference.
       2.       I have been asked by BP to address certain issues presented in the three
accounting-related declarations submitted by Class Counsel’s accounting experts. My focus is
on claims from businesses in construction-related industries. My opinions are based on my
review of the information included in Appendix B and are set forth below.

                                            OPINIONS

      Opinion 1)      Any calculation of variable profit requires the proper matching of
                      revenues with the corresponding variable expenses incurred to
                      generate that revenue.
       3.       As set forth in more detail in my prior declaration, the interpretation and
application of the Settlement Agreement’s BEL methodology advocated by Class Counsel and
implemented by the Settlement Program has resulted in construction claimants receiving
compensation awards that do not compensate just for actual lost profits or economic damages (to
the extent experienced), but instead provide a windfall payment for nonexistent “losses”


                                              Page 1 of 7
    Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 3 of 13




generated by using data that does not accurately record the firm’s monthly revenues earned and
corresponding variable expenses. In particular, the monthly P&L data as recorded by
construction claimants is often inaccurate. Many construction firms “true up” using large lump
sum entries to correct errors in prior months’ financial statements. Also, some construction firms
may maintain their records on a cash basis during the year, and so do not match revenue earned
to corresponding expenses in those months. The basis for this conclusion is explained in more
detail below and in my prior declaration. See First Hall Decl. ¶¶ 5-12, 19.
        4.       Class Counsel’s interpretation of the BEL framework results in computations of
lost variable profit that is inconsistent with Generally Accepted Accounting Principles.
Matching revenues and expenses is a cornerstone of Generally Accepted Accounting Principles. 1
While it is common for construction companies, in the normal course of their operations, to
maintain their monthly P&L statements without matching monthly revenues with the
corresponding variable expenses incurred to generate those revenues, it is not appropriate to
measure lost profits damages from P&L statements that do not match revenues and expenses.
        5.       Systematically, construction firm claim offers are being overstated (in some cases,
dramatically) because the monthly financial statements do not accurately reflect variable profit.
This is due to distortions in the calculation of monthly variable profit that are caused by simply
inputting data from monthly financial statements in which revenues are not being recorded when
earned and matched with the corresponding variable expenses incurred to generate those
revenues. The resulting distorted variable profit calculations may be artificially high or low from
one month to the next. The claimant then benefits from these distortions, because the BEL
framework allows claimants to measure lost profits by selecting a combination of months
between May and December that maximize the difference in variable profits between the
Benchmark year(s) and the corresponding months during the 2010 Compensation Period.
Because a claimant is allowed to select the period of months that maximize its claim, months in
which variable profit distortions would reduce the claim amount will be excluded by the claimant
or by the Settlement Program accountants, which use an excel workbook set up to select the
combination of Benchmark year(s) and Compensation period that awards the claimant the
highest compensation.2 As a result, this issue does not cut both ways. Class Counsel’s approach
1
 FASB CON 6, “Recognition, Matching and Allocation,” ¶ 144.
2
 I have observed this systematic ranking by the Settlement Program of various combinations of Benchmark year(s)
and Compensation period options from most to least favorable in my review of construction claims (discussed in
more detail below) and the PwC excel workbooks included as part of those files.

                                                  Page 2 of 7
    Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 4 of 13




does not yield a calculation of variable profit in a manner that I understand the Settlement
Agreement requires.
        6.       To evaluate the reasonableness of the offers by the Settlement Program, I
compared 28 construction firms’ May to December variable profit in each of their Benchmark
year(s) with their variable profit in May to December 2010 plus the BEL base compensation
offer awarded by the Settlement Program to the claimant. By comparing the full May to
December 2010 period to that same period in the Benchmark year(s) selected by the claimant, a
reasonable approximation of lost profit, if any, can be measured using the data as recorded in the
claimant’s monthly P&Ls because it is less susceptible to the distorted volatility that occurs
when the data is taken directly from the monthly P&Ls for a shorter time period. By comparing
variable profit in May to December 2010 plus the total BEL base compensation offered to the
claimant to variable profit for the same period of the Benchmark year(s), one can approximate
whether a claimant has been compensated for what it might have expected to earn in 2010 absent
the Spill. The $55.6 million of total BEL base offers associated with these 28 claimants represent
44% of the total $126.2 million base offers from the 524 total construction claimants.3
        7.       Appendix A summarizes the results of this analysis. It reflects that, of the 28
construction firm BEL claims I examined, the Settlement Program consistently awarded BEL
base compensation amounts that give most of the claimants 2010 total profits (actual variable
profit plus the base offer from Settlement Program) that are substantially higher than the
claimants’ eight-month (May through December) variable profit during the Benchmark year(s).
Further, the average claimant received an award reflecting the May through December 2010
variable profit equal to 145%4 of variable profit in May-Dec of the Benchmark year(s). Certain
claimants even received awards implying variable profits more than double the Benchmark
year(s). This implies the unreasonable conclusion that in 2010 the average claimant would have
been significantly more profitable in contrast to their past experience upon which the offer is
based. This analysis does not include the RTP multiplier, which when applied, compounds the
distortion and the windfall award.
        8.       As demonstrated in Appendix A and summarized above, overstated awards are
systemic and not isolated anomalies. Contrary to the suggestions of Class Counsel’s
3
  We selected 28 construction firm claims that appeared to illustrate the need for accurate monthly P&L statements
reflecting revenues earned and corresponding variable expenses. These claims include those with high dollar value
compensation offers and construction claim offers appealed by BP.
4
  The weighted average of the 28 contractors is 128%.

                                                    Page 3 of 7
    Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 5 of 13




accountants, the issue of nonexistent artificial “losses” and windfall compensation awards
resulting from failure to use accurate monthly revenue and corresponding variable expense data
is not an isolated or rare problem. To the contrary, I found such mismatching and resulting
artificial “losses” and windfall awards in most of the 28 construction firm BEL claims I
reviewed. As discussed above, the impact of the Settlement Program’s use of incorrect data does
not cut both ways due to the BEL framework’s flexibility. This is demonstrated to be true for the
28 construction contractors I have reviewed. Specifically, I did not see any indication that a
single construction claim offer by the Settlement Program understated actual losses. This is
evident in Appendix A: each claimant’s May through December variable profit in 2010 plus
base offer is at least 100% or more of the claimant’s variable profit during the Benchmark
year(s), including one at 290% and ten over 140%.5
        9.       As an example, an analysis of Claimant No.                           (a claimant on
Appendix A) reported monthly revenue demonstrates the economic unreasonableness of Class
Counsel’s approach. I analyzed Claimant                          monthly financial statements and
identified adjusting entries to claimant’s monthly construction revenues and noted this claimant’s
revenues and expenses incurred to earn that revenue, do not match on a monthly basis.
        10.      As part of its year-end accounting procedures, Claimant                         records
journal entries to correct construction revenues that were overstated throughout the year. For
example, in December 2007, the Claimant’s monthly construction revenues before any adjusting
journal entries were $273,312.6 However, the Claimant had overstated construction revenues by
$2,184,371 over the course of the year.7 Rather than correct each month that contained
overbillings, Claimant instead made a single adjustment in December 2007 to correct all
overbillings throughout the year. As a result of this approach, instead of reporting December
2007 construction revenues of $273,312, Claimant reported negative construction revenue of
($1,911,509) in that one month and, as importantly, the previous months containing overbillings
remained incorrect. Claimant                     made a similar adjusting entry in November 2009. Its
monthly construction revenues before adjustment were $1,253,908. However, after an adjusting
entry of $2,002,787 to correct for overbillings that accumulated throughout the year, Claimant
reported negative monthly construction revenues of ($748,878) in November 2009 while all
5
  See columns titled Compared to Benchmark Year(s) Average and Percentage of Benchmark Year(s) Average.
6
  October 31, 2012 letter from
7
  Reconciliation schedule and supporting journal entry documentation attached to October 31, 2012 letter from


                                                   Page 4 of 7
Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 6 of 13
    Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 7 of 13




these large swings in monthly profitability, this claimant’s annual variable profit margin for 2008
and 2009 was a stable 21% and 19%, respectively. See First Hall Decl. App. Table C.3 for this
example and Tables C.2 and C.4 through C.6 for additional examples. See also App. C page 3
for comparing construction firms’ range of monthly variable profit margins compared to annual
profit margin.

       Opinion 2)        The assertion by Class Counsel’s experts that BP’s interpretation of
                         the BEL framework is inconsistent with accounting principles is simply
                         wrong.8
        14.      BP’s interpretation of the BEL to “match” revenues with the corresponding
expenses incurred in earning that revenue is entirely consistent with Generally Accepted
Accounting Principles, which include the “matching” of revenues and expenses as a core
concept. It is a widely accepted accounting principle “that efforts (expenses) be matched with
accomplishment (revenues) whenever it is reasonable and practicable to do so.”9 It is also
widely understood and accepted that such matching between revenue and expenses is required in
order to understand a business’s financial performance for a given accounting period.
Accounting literature defines Variable Profit as requiring that variable expenses be deducted
from the revenues they were incurred to generate: “The contribution of a given segment of sales
to cover fixed costs and provide a profit is known by various names as marginal income,
variable profit or contribution margin. It is obtained by deducting from sales revenue for a
particular segment of the business the variable costs that relate to that revenue.”10 (emphasis
added). And, “Matching of costs and revenues is simultaneous or combined recognition of the
revenues and expenses that result directly and jointly from the same transactions or other
events.”11 (emphasis added). More practically, it is a simple matter of common sense that profits
must be evaluated by comparing selling price with the costs associated with the item actually
being sold.

8
  See Asher Affidavit ¶7: (“BP’s accounting methodology proposed in their Response is inconsistent with the cash
basis of accounting, the accrual basis of accounting using Generally Accepted Accounting Principles or any other
accounting model.”); Stutes Affidavit ¶6 (“BP’s accounting methodology proposed in their response is inconsistent
with the cash basis of accounting, the accrual basis of accounting using Generally Accepted Accounting Principles
or any other accounting model…”); Carroll Affidavit page 2 (“BP is advocating a method of accounting which is
contrary to the accrual accounting rules by advocating an additional form of “matching” using some non-defined
method.”).
9
  Intermediate Accounting, Tenth Edition, Kieso, Weygandt, and Warfield, p. 46.
10
   Manash Dutta, Cost Accounting: Principles and Practice, Pearson, 2003. P. 15.4.
11
   FASB CON 6, “Recognition, Matching and Allocation,” ¶ 144.

                                                   Page 6 of 7
Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 8 of 13
Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 9 of 13
               Analysis of 28 Construction Claims Reviewed To Date   Appendix A



                                        Average Variable
                       Average Variable Profit May-Dec.
                        Profit for May-  2010 Plus BEL 2010 Compared to
                       Dec. Benchmark Base Compensation   Benchmark
           Claimant ID      Year(s)     Offer (pre-RTP)     Year(s)
                        $       36,338    $          105,462         290%
                             1,054,707             2,972,156         282%
                               282,826               741,979         262%
                               432,200             1,036,217         240%
                             1,461,845             2,583,780         177%
                            16,571,300            27,902,772         168%
                               631,438             1,058,977         168%
                               766,635             1,137,072         148%
                             4,277,144             6,272,784         147%
                             1,236,077             1,785,028         144%
                               672,921               940,020         140%
                             1,420,429             1,931,609         136%
                             4,105,851             5,555,921         135%
                             4,856,064             6,342,433         131%
                             2,472,458             3,140,338         127%
                             2,258,747             2,743,152         121%
                               560,522               629,891         112%
                             3,385,530             3,791,818         112%
                             2,653,160             2,847,668         107%
                             3,368,940             3,596,574         107%
                             6,001,491             6,161,104         103%
                               527,231               534,891         101%
                             5,818,786             5,899,213         101%
                             3,512,387             3,554,840         101%
                            11,192,497            11,267,047         101%
                             2,525,475             2,533,388         100%
                               697,530               697,662         100%
                             6,056,097             6,056,097         100%
             Total      $   88,836,622    $      113,819,893         128%

                        Average 2010 percentage compared to
                                        Benchmark Year(s):           145%

               Note:
                (1)    Percentage of Benchmark Year(s) Average would be larger
                       by including the relevant RTP, which could increase the
                       award by as much as 2.5 times the base offer (or a 150%
                       increase).
               Sources:
                (a)    Monthly P&Ls included in PwC workbook for each
                       claimant
                (b) Step 1 and Step 2 lost variable profit presented in Total
 Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 10 of 13

                                                                                 Appendix B
                                    Documents Reviewed


Legal Filings

   1. THE PLAINTIFFS’ STEERING COMMITTEE’S AND BP DEFENDANTS’JOINT
      MOTION FOR (1) PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT,
      (2) SCHEDULING A FAIRNESS HEARING, (3) APPROVING AND ISSUING
      PROPOSED CLASS ACTION SETTLEMENT NOTICE, AND (4) BP’SMOTION FOR
      ADJOURNING THE LIMITATION AND LIABILITY TRIAL, April 18, 2012

   2. DEEPWATER HORIZON ECONOMIC AND PROPERTY DAMAGES SETTLEMENT
      AGREEMENT AS AMENDED ON MAY 2, 2012
            a) Exhibit 4A

            b) Exhibit 4B

            c) Exhibit 4C

            d) Exhibit 4D

            e) Exhibit 4E


   3. ORDER AND REASONS Granting Final Approval of the Economic and Property
      Damages Settlement Agreement, December 21, 2012



Correspondence Regarding Monthly Revenue

   4. December 16, 2012 memo from class counsel to claims administrator re: Request for
      Formal Policy Statement: Monthly Revenue

   5. BP’s response to December 16, 2012 memo from class counsel to claims administrator re:
      monthly revenue

   6. BP’s memo with suggested triggers for selected industries

   7. Affidavit of Harold A. Asher (Class Counsel), dated January 15, 2013

   8. Declaration of Rick Stutes, dated January 17, 2013

   9. Declaration of Allen Carroll, undated

   10. Announcement from Patrick A. Juneau, Claims Administrator, to class counsel and BP,
       dated January 15, containing 2 page response memorandum




                                         Page 1 of 3
 Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 11 of 13

                                                                                    Appendix B
                                      Documents Reviewed


Claimants’ Financial Information

   11. PwC Workbooks

   12. Claimants’ tax returns

   13. Claimants’ annual and monthly financial statements

   14. October 31, 2012 letter from

   15. Reconciliation schedule and supporting journal entry documentation attached to October
       31, 2012 letter from



Research/Accounting Literature

   16. Accounting Standards 605 Revenue Recognition, 35 Construction-Type and Production-
       Type Contracts

   17. Financial Accounting Standards Board Concept Statement 1 (As Amended): Objectives
       of Financial Reporting by Business Enterprises

   18. Financial Accounting Standards Board Concept Statement 5 (As Amended): Recognition
       and Measurement in Financial Statements of Business Enterprises

   19. Financial Accounting Standards Board Concept Statement 6 (As Amended): Elements of
       Financial Statements

   20. Donald E. Kieso, Jerry J. Weygandt, and Terry D. Warfield, Intermediate Accounting,
       Tenth Edition, John Wiley & Sons, 2000.

   21. Manash Dutta, Cost Accounting: Principles and Practice, Pearson, 2003, p. 15.4
       [excerpt]

   22. Internal Revenue Bulletin 2003-41, dated October 14, 2003



Research/Lost Profits Literature

   23. Losses In Commercial Litigation, Carroll B. Foster, Robert R. Trout, and Patrick A.
       Gaughan., Journal of Forensic Economics, 6(3), 1993,

   24. Submission to the Journal of Business Valuation and Economic Loss Analysis,
       “Computing Lost Profits in Business Interruption Litigation: A General Model,” Stanley
       Stephenson, David A. Macpherson, Manuscript 1118, Gauri Prakash-Canjels
                                         Page 2 of 3
Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 12 of 13

                                                                               Appendix B
                                 Documents Reviewed


 25. Litigation Services Handbook: The Role of the Financial Expert, Roman L Weil, Peter B.
     Frank, Christian W. Hughes, and Michael J. Wagner, 4th Edition, 2007

 26. Recovery of Damages for Lost Profits – 6th Edition, Robert L. Dunn, Lawpress
     Corporation, 2005.

 27. “The Accuracy and Manipulability of Lost Profits Damages Calculations: Should The
     Trier of Fact Be ‘Reasonably Certain?’” Transactions: The Tennessee Journal of
     Business Law, Jonathan T. Tomlin and David R. Merrell, 7(2), Spring 2006, p. 12.




                                       Page 3 of 3
    Case 2:10-md-02179-CJB-DPC Document 8910-11 Filed 03/15/13 Page 13 of 13

                                                                                                     Appendix C


        1.       The matching of revenues and expenses is essential to accurately calculate lost
profits. According to the Journal of Forensic Economics:
                 Lost profits damages are usually defined as lost net profits; all costs must
                 be deducted. For breach of contract, this means the contract price less cost
                 of performance, or cost of completion, or, as it is sometimes put,
                 "expenses saved" as a result of plaintiffs being excused from performance
                 by the other party's breach. The idea here is that the plaintiff should not
                 be able to recover lost revenues without taking into account the level of
                 expenditures plaintiff would have had to incur in order to generate those
                 lost revenues. Thus, incremental costs associated with the foregone
                 revenues must be subtracted from the lost revenues to arrive at “lost
                 profits.”1 (emphasis added)

The italicized language in the above quotation is in essence describing the matching of revenues
and expenses.
        2.       Another commonly cited damages treatise is the Litigation Services Handbook
which provides discussion of lost profits:
                 Measurement of Lost Profits. Whether the plaintiff has identified the
                 cause of action as breach of contract, copyright or patent infringement, or
                 violation of antitrust laws, damages usually equal the difference between
                 the profits that the plaintiff would have realized but for the defendant's
                 actions and the plaintiff's actual profits. In other words, the general
                 damages measure equals incremental sales (or revenues) less incremental
                 costs. Although one can measure lost profits in many ways, most
                 measures combine the knowledge of business and financial records with
                 economic assumptions about the relevant industry.2 (emphasis added)

This sources use of the phrases incremental sales and incremental costs necessarily presumes that
there is a matching and consistency between these two components of lost profits—revenues and
expenses incurred to earn the revenue. In the calculation of lost profits, when there is a failure to
match expenses to revenues any lost profits calculated from this mismatch will inherit its flaws
and be inaccurate.




1
  Losses In Commercial Litigation, Carroll B. Foster, Robert R. Trout, and Patrick A. Gaughan., Journal of Forensic
Economics, 6(3), 1993, p. 181.
2
  Litigation Services Handbook: The Role of the Financial Expert, Roman L Weil, Peter B. Frank, Christian W.
Hughes, and Michael J. Wagner, 4th Edition, 2007, Chapter 3-8.


                                                      1 of 1
